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                          IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH CAROLINA
                                  CHARLESTON DIVISION

MARK FULTZ,                                      )          Civil Action No. 2:19:cv-708-RMG
                                                 )
                     Plaintiff,                  )
                                                 )
              -versus-                           )           STIPULATION OF DISMISSAL
                                                 )           WITH PREJUDICE
FMH, L.P., a South Carolina Limited Partnership, )
                                                 )
                     Defendant.                  )

          COMES NOW, the Plaintiff, with the consent of the Defendant, and stipulates that all

claims that were that could have been asserted between the parties arising out of matters in the

Complaint are ended and dismissed pursuant to Rule 41(a) of the Federal Rules of Civil

Procedure. The dismissal is with prejudice and each party shall bear their own attorney fees and

costs.

          Dated this   day of September, 2019.


s/ Anthony Brady                                     s/Graham P. Powell
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Date: _9/16/19___________                            Date: _9/11/19___________



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